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QUITCLAIM of Corporate interest

|, John Kevin Moore, “GRANTOR,” hereby voluntarily and irrevocably relinquish and quit any claim | may
hold in 75% or (3/4) interest in Miik River Hunting Preserve, LLC, at 105 Baker Avenue, Whitefish,
Montana 59937, Entity Number: C127125 and all legal claim, right, title or interest ! may hold in said
Montana Limited Liability Company organized on 10/08/2003 under the laws of the State of Montana;
to “GRANTEE” Daytronics, LLC., an Idaho Limited Liability Company, Entity Nurmber:.D3768 at 3313 W
CHERRY LANE #806, MERIDIAN, ID 83642.

The Undersigned “GRANTOR” hereby voluntarily relinquished all claim, right, title or interest in Milk
River Hunting Preserve, LLC, at 405 Baker Avenue, Whitefish, Montana 59937, Entity Number: C127125
over to “GRANTEE” Daytronics, LIC, an Idahé:-Limitéd Liability Company, Entity Number: D3768 at 3313
W CHERRY LANE-#806, MERIDIAN, ID 83642. effective the date hereon, as witnessed by.a legal Notary of
Public affirmed below: ”

DATE: apolry

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For John Kevin Wiéoret by Attorn@y-in-Fact

NOTE: Attormey-in-Fact for Jahn Kevin Moore a/k/a Kevin Moore, effective April 6, 2018, is TOM
COLLIGAN, at 104 Rebinson Creek Terrace, Urbanna, Virginia 23475, as Durable Power of Attorney and
Attorney-in-Fact, duly authorize by GRANTEE to act on his behalf without legal restriction or reservation,
a copy of which is attached hereto.

NOTARY OF PUBLIC: an
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oan SRR git,
County/Cily of } Ae Ale | x SS NOTARY ° %
Commonwealth/State of AYO UAT eNS PUBLIG me
‘The foregoing ingtryyent was acknowledged, Sig: REG.AT7ERMES 27% S
Befgre mp this AQ" May of : by % +, MY COMMISSION - « &
Par ZG EXPIRES, Ss
3%, *» snl Oe
_ “a Nye" GS
aigty Public * PmpZEALTA Oo

My Commission Expires:, NY 3 Ay L
Notary Registration No: 2) AOL SS

EXHIBIT

